             Case: 3:20-cv-00050-PBS Doc #: 19 Filed: 10/20/21 Page: 1 of 1 PAGEID #: 1188
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                        SouthernDistrict
                                                    __________   Districtofof__________
                                                                              Ohio

                   TERESA GRIESHOP,                                  )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 3:20-cv-50
             Commissioner of Social Security                         )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              The Commissioner’s non-disability determination be AFFIRMED

                                                                                                                                     .

This action was (check one):

u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge          Peter B. Silvain, Jr.                                              on a motion for
      Decisioin and Enty
                                                                                                                                     .

             
Date:                                                                       CLERK OF COURT
                                                                                 V3%XWOHU

                                                                                          Signature of Clerk or Deputy Clerk
